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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
UNITED STA TES OF AMERICA,
                      Government,                                     ft'ROP89@B1--._         2,-ttJ
                                                                     SEALED ORDER
                 -against-
                                                                      15 CR 867 (RMB)
REZA ZARRAB,
                                   Defendant,
-------------------------------------------------------------X
        This order amends the travel restrictions set forth in paragraph 6 of the sealed order dated

July 17, 2018 to state as follows :

        Travel is restricted to the Southern and Eastern Districts of New York and the Southern

District of Florida, including as necessary to travel between the districts. Any travel outside of

the aforementioned districts remains subject to prior approval by Pretrial Services and the

Government.



                         ew York
        ---=..c.,---' 2018

                                                     RICHARD M. BERMAN, U.S.D.J.
